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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF TEXAS
                            TEXARKANA DIVISION

    TRAVELPASS GROUP, LLC,
    PARTNER FUSION, INC.,
    RESERVATION COUNTER, LLC

               Plaintiffs,

          v.

    CAESARS ENTERTAINMENT                    Case No. 5:18-cv-153-RWS-CMC
    CORPORATION, CHOICE HOTELS
    INTERNATIONAL, INC., HILTON
    DOMESTIC OPERATING COMPANY,
    INC., HYATT HOTELS CORPORATION,
    MARRIOTT INTERNATIONAL, INC.,
    RED ROOF INNS, INC., SIX
    CONTINENTS HOTELS, INC.,
    WYNDHAM HOTEL GROUP LLC.

               Defendants.




                     DEFENDANTS’ JOINT MOTION TO COMPEL
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   I.     INTRODUCTION
          Defendants (the “Hotels”) request that this Court compel plaintiffs (collectively,

   “TravelPass”) to produce two sets of documents, which TravelPass has refused to produce: (1)

   documents that TravelPass produced to the Federal Trade Commission (“FTC”) during the FTC’s

   investigation into TravelPass’s false, misleading, and deceptive online advertising practices (the

   “FTC Documents”), and (2) the documents TravelPass produced in its litigation and arbitration

   with Expedia (the “Expedia Documents”). These documents bear directly on the core harm and

   damages that TravelPass alleges here and will show that this action is merely an attempt to shift

   blame to the Hotels for losses that TravelPass brought on itself or which it has already attributed to

   others. It is also undisputed that their production presents no burden on TravelPass.

          TravelPass’s complaint here alleges that the Hotels conspired with each other and with

   “Gatekeeper” online travel agencies (“OTAs”), including Expedia, to insert “keyword bidding”

   restrictions into the respective Hotels’ individual distribution contracts with each of those OTAs.

   See Compl. Dkt. 1 at ¶ 1. These provisions restrict each of the OTAs, and any “Downstream” OTAs

   to whom they provide inventory, from bidding on the contracting Hotel’s branded keywords in

   online advertising auctions. TravelPass, a Downstream OTA, asserts that the alleged keyword

   bidding restrictions are “anticompetitive” under the antitrust laws, and have caused significant

   injury to TravelPass’s business, pointing to different valuations it allegedly received in March 2015

   and then later in December 2017. Id. at ¶¶ 160-162.

          According to its complaint, TravelPass’s business model is based on bidding for the Hotels’

   branded keywords so that when a consumer searches for a specific Hotel brand, he or she will be

   directed to TravelPass’s website instead of the Hotel’s website to book a room. The FTC

   Documents are relevant because the FTC investigated TravelPass for, among other things, using

   branded keywords to mislead consumers to believe that, when they booked through TravelPass,

   they were dealing directly with the hotel. The FTC investigation culminated with TravelPass’s
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   entry into a consent decree in December 2017, forcing it to cease the deceptive business practices

   at the core of its model. The FTC Documents thus bear on the procompetitive (and pro-consumer)

   justifications for any keyword bidding restrictions imposed by the Hotels, as well as alternate causes

   of TravelPass’s purported loss of business value. Separately, TravelPass filed a lawsuit against

   Expedia accusing it of the same “anticompetitive” agreement with Hotels it alleges here, but also

   of misappropriating TravelPass’s trade secrets, which TravelPass alleges was the actual cause of its

   allegedly massive loss in value. The Expedia Documents thus bear on the existence of any alleged

   conspiracy, and the extent, if any, TravelPass’s loss in value was due to keyword bidding

   restrictions (as opposed to the alleged misappropriation of its trade secrets).

          These two sets of documents (the “Requested Documents”) go to the heart of TravelPass’s

   claims and damages. Further, having already been collected, organized, and reviewed, their

   reproduction would impose virtually no burden. Accordingly, this Motion should be granted.

   II.    BACKGROUND
          A.      The FTC Investigates and Sues TravelPass for Deceiving Consumers.
          After completing an investigation, the FTC filed a complaint on December 21, 2017 (the

   “FTC Complaint”),1 accusing TravelPass of deceptive practices designed to trick consumers into

   booking rooms through its websites.         The FTC alleged that TravelPass’s “search engine

   advertisements are designed around a specific hotel brand name and a specific city,” so that when

   consumers search for a hotel brand in a city, they will see ads for TravelPass’s website, instead of

   the hotel’s. Id. ¶ 12. TravelPass also designed its online advertisements and websites to convey

   the false impressions that they are “official advertisements placed by the advertised hotel” and the

   “official websites…for the advertised hotel.” Id. ¶ 57. TravelPass also trained its telephone agents

   to further the misconception that it was affiliated with the hotel. Id. ¶¶ 16, 41-54. The FTC alleged



   1
     Fed. Trade Comm’n v. Reservation Counter, LLC, TravelPass Group, LLC, and Partner Fusion,
   Inc., No. 2:17-cv-01304, Dkt. No. 2 (D. Utah Dec. 26, 2017).


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   that consumers suffered “substantial injury” from TravelPass’s deception, via hidden prepayment

   policies and other undisclosed charges. Id. ¶¶ 20, 25, 63. Shortly after the FTC Complaint was

   filed, TravelPass entered into a Stipulated Order for Permanent Injunction and Judgment (“Consent

   Decree”), which enjoined its deceptive practices. See id., No. 2:17-cv-01304 (Dkt. 5) at 4-6.

          B.      TravelPass Sues Expedia Claiming that Its Loss in Business Value Was
                  Actually Caused By Expedia’s Theft of Its Trade Secrets.

          On March 31, 2017, TravelPass filed a complaint against Expedia in the District of Utah

   (“Expedia Compl.”).2 TravelPass accused Expedia of entering into the same “anticompetitive”

   agreement with hotels to restrict keyword bidding that it alleges here, and claimed that Expedia’s

   enforcement of those provisions breached its separate agreement with Expedia. Id. at ¶¶ 1, 30-33,

   70. TravelPass also accused Expedia of misappropriating TravelPass’s trade secrets. Id. at ¶ 1.

   TravelPass alleged that, because of the alleged misappropriation that began in 2014, TravelPass had

   lost “almost 90%” of its enterprise value by 2017. Id. at ¶ 42.3

          C.      TravelPass Refuses to Produce the FTC Documents and Expedia Documents.

          On May 17, 2019, counsel for Hyatt informed TravelPass that the Hotels expected

   TravelPass to produce the Requested Documents with its mandatory initial disclosures. When

   TravelPass made its initial disclosures on June 3, it refused to produce the Requested Documents.

   Thereafter, the Hotels responded on June 13 with a letter detailing why the categories of documents

   are relevant to the claims and damages alleged here. On July 2, the parties conferred telephonically

   regarding TravelPass’s objections. On July 18, TravelPass sent a letter detailing its objections.

   Thereafter, on August 14, TravelPass confirmed it would stand on those objections.



   2
     TravelPass Group, LLC v. Expedia Inc., Case No. 2:17-cv-00246 (D. Utah), Dkt. 1.
   3
     In a related complaint it filed against Reservations.com, TravelPass alleged that the theft of its
   trade secrets “had an immediate and detrimental effect on” its business, including a “precipitous[]”
   drop in its growth rate from 2014 through that March 2017 complaint. See Complaint, TravelPass
   Group, LLC v. Benjamin Bros., LLC d/b/a Reservations.com, No. 2:17-cv-00247, ECF Dkt. No. 2
   (D. Utah), at ¶ 30.


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   III.   ARGUMENT
          Parties may obtain discovery regarding any matter, not privileged, that is relevant to the

   claim or defense of any party. See Fed. R. Civ. P. 26(b)(1). This Court’s Discovery Order

   commanded the parties to produce “all documents” that are “relevant to the pleaded claims or

   defenses.” Dkt. 112. Evidence that has “any tendency” to make a fact of consequence “more or

   less probable” is relevant. Fed. R. Evid. 401. Accordingly, “[t]he Court’s definition of relevance

   is broad.” See, e.g., United States ex rel. Wright v. AGIP Petroleum Co., 2008 WL 11348371, at

   *2 (E.D. Tex. May 15, 2008) (Craven, Magistrate J.). The Requested Documents fit squarely within

   that “broad” definition, and TravelPass’s excuses for failing to produce them are meritless.

          A.      The Requested Documents Are Relevant and Should Be Produced.
                  1.     The Lack of an Answer Does Not Render the Documents Irrelevant.

          TravelPass contended in its meet-and-confer letter that the Requested Documents are

   irrelevant because no Answer has been filed and thus there were no “pleaded defenses.” This

   argument lacks any basis. TravelPass alleges antitrust violations, which it claims led to increased

   transaction costs for consumers. See, e.g., Compl. ¶ 151. Elements of that claim include an

   agreement, an unreasonable restraint of trade, and damages. See Golden Bridge Tech., Inc. v.

   Motorola, Inc., 547 F.3d 266, 271 (5th Cir. 2008). Evidence negating an element of a claim is

   relevant. See, e.g., Fed. R. Evid. 401; Agip Petroleum, 2008 WL 11348371 at *2 (information

   “likely to have an influence on or affect the outcome of a claim” is relevant). The Requested

   Documents bear on the existence of any agreement, the procompetitive justifications for any such

   restraint, and TravelPass’s alleged damages. TravelPass even recently told Judge Schroeder that,

   “there’s going to be substantial discovery” about the FTC and Expedia documents. See Aug. 16,

   2019 Hr’g Tr. (Dkt. 180) at 46.4


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     TravelPass has also issued subpoenas to third parties seeking production of FTC related
   documents. See, e.g., Excerpt from TravelPass Subpoena to American Hotel & Lodging
   Association, Ex. 1, at Request No. 24.


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          TravelPass’s admission that the documents will be relevant shows that its current position

   is nothing more than an effort to delay. According to TravelPass, while the motion to dismiss is

   pending, TravelPass is free to pursue discovery it believes will advance its claims, but the Hotels

   are precluded from pursuing discovery that disproves them. That framework is plainly unfair.

                  2.      The FTC Documents are Relevant.

          TravelPass advanced two additional arguments that the FTC Documents are not relevant:

   (1) that any claim that the Hotels were trying to curb online consumer deception through keyword

   bidding restraints is “pretext”; and (2) that certain categories of information produced to the FTC

   do not deal with keyword bidding. Neither is persuasive.

          The claim of “pretext” simply underscores the FTC Documents’ relevance. The parties

   clearly dispute whether TravelPass was deceiving customers such that restricting its ability to do so

   had procompetitive benefits to consumers. The documents produced to the FTC in the course of

   the agency’s investigation of TravelPass’s consumer deception are “likely to have an influence” on

   the outcome of that factual dispute. Agip Petroleum, 2008 WL 11348371 at *2.

          Nor do the three categories of documents that TravelPass claims are unrelated to keyword

   bidding render the FTC Documents irrelevant. Those categories are: (1) communications between

   TravelPass sales agents and consumers; (2) TravelPass’s policies and procedures; and (3)

   TravelPass’s use of different phone numbers for different advertisements of different hotels.

   However, as the FTC Complaint explained, these issues relate to how TravelPass designs its online

   advertisements to mislead consumers into believing that its phone numbers are those of the searched

   hotel (FTC Compl. ¶¶ 16, 27), and how it trains its telephone agents to encourage that deceit. Id.

   ¶¶ 16, 43-47. As the FTC Complaint also makes clear, TravelPass’s keyword bidding is the

   “gateway deception” that hooks customers into its “downstream deception,” including its

   misleading advertisements and call center practices.       See id. ¶¶ 12-14, 26-27.     Thus, these




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   documents are relevant to the procompetitive justifications for the Hotels’ individual OTA

   agreements that contractually preclude TravelPass from continuing that deception.

          The FTC Documents are also relevant to TravelPass’s claimed damages, and thus to its

   “asserted claims.” The Consent Decree altered TravelPass’s business, forcing it to stop: (1) using

   the branded name or logo of any hotel in any search engine advertisement, webpage, or other

   advertising to misrepresent that the advertisement is from or sponsored by the hotel; (2) making

   misrepresentations, including through the use of any name, logo, or photograph, that TravelPass is

   the advertised hotel itself; and (3) failing to disclose material information in connection with its

   advertising and sale of hotel room services. See Consent Decree at 4-6. TravelPass’s deceptive

   practices surely had some effect on its relative profitability before and after the timing of the

   Consent Decree. The Hotels are entitled to discover the documents that TravelPass produced to the

   FTC to account for that impact as part of any assessment of TravelPass’s damages claim.

                  3.      The Expedia Documents Are Relevant.
          The Expedia Documents are also relevant. The Expedia Complaint alleged that Expedia

   demanded that “Reservation Counter agree to various anti-competitive restrictions” on its keyword

   search marketing and that, “when Reservation Counter refused to adopt these restrictions, Expedia

   unilaterally cut Reservation Counter off from access to various hotel lines . . . .” Expedia Compl.

   ¶¶ 20, 31-33 (alleging Expedia’s demands were the “product of collusion between [Expedia] and

   its hotel partners to restrict competition” in keyword search advertising). These allegations mirror

   its allegations here. See, e.g., Compl. (Dkt. 1) ¶¶ 145-150.

          TravelPass’s effort to shield these documents from discovery by arguing that it only brought

   contract and trade secret misappropriation claims against Expedia is a red herring. For one,

   Expedia’s enforcement of the keyword restrictions at issue here is the basis of TravelPass’s breach

   of contract claim. See Expedia Compl. ¶¶ 31-33, 70-71. Whatever the differences in legal theory,

   the asserted factual basis overlaps with the claims here. And if, as TravelPass contends, Expedia


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   misappropriated TravelPass’s valuable trade secrets, destroying its enterprise value during the same

   time period as the alleged conspiracy here, that tends to disprove TravelPass’s allegations that those

   losses were caused by the Hotels’ alleged conduct. See Fed. R. Evid. 401.

          B.      It is Inefficient and Unfair to Force Hotels to Seek the FTC and Expedia
                  Documents Through the Search Term Process.
          TravelPass’s final argument in its meet and confer letter—that the Requested Documents

   should be limited to ESI searches—is a further effort to avoid producing relevant documents. The

   purpose of the Court’s ESI Order and search term limitations is to lessen the burden of electronic

   discovery, not to artificially restrict the production of readily available relevant material. The

   Requested Documents are discrete, and have already been organized, reviewed, and produced by

   TravelPass, thereby rendering them easily producible here with a few clicks of a button.

          TravelPass’s insistence on limiting productions to the search term process is a transparent

   attempt to avoid producing relevant discovery and would serve only to increase its burden here.

   That is contrary to Federal Rule of Civil Procedure 1 and the fundamental purpose of discovery.

   Crostley v. Lamar Cty., Texas, 2011 WL 13134887, at *3 (E.D. Tex. June 23, 2011) (Craven,

   Magistrate J.) (“Discovery exists to allow the parties to explore fully the claims and defenses in the

   case.”). Indeed, courts regularly order the production of previously produced documents precisely

   because there is little burden to reproduction. See Oasis Research, LLC v. Carbonite, Inc., No.

   4:10-CV-435, 2015 WL 5317600, at *6, n.6 (E.D. Tex. Sept. 11, 2015) (finding it “unlikely” there

   was any burden in reproduction of gathered documents); In re Enron Litig., No. CIV. A. H-01-

   3624, 2002 WL 31845114, at *2 (S.D. Tex. Aug. 16, 2002) (ordering production because the burden

   is “slight” when a party has “already found, reviewed, and organized the documents”).

   IV.    CONCLUSION
          For the foregoing reasons, Defendants request that the Court grant this Motion to Compel.




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   Dated: August 23, 2019                Respectfully submitted,


                                            /s/ Melissa Richards Smith
                                            Melissa Richards Smith
                                            Texas State Bar No. 24001351
                                            GILLAM & SMITH
                                            303 S. Washington Ave.
                                            Marshall, Texas 75670
                                            Tel: (903) 934-8450
                                            Fax: (903) 934-9257
                                            melissa@gillamsmithlaw.com

                                            Sean M. Berkowitz
                                            LATHAM & WATKINS LLP
                                            330 North Wabash Avenue, Ste. 2800
                                            Chicago, IL 60611
                                            Tel: (312) 876-7700
                                            Fax: (312) 933-9767
                                            sean.berkowitz@lw.com

                                            Christopher S. Yates
                                            Brendan A. McShane
                                            LATHAM & WATKINS LLP
                                            505 Montgomery Street, Suite 2000
                                            San Francisco, CA 94111-6538
                                            Tel: (415) 391-0600
                                            Fax: (415) 395-8095
                                            chris.yates@lw.com
                                            brendan.mcshane@lw.com

                                            Counsel for Defendant
                                            Hyatt Corporation

                                            /s/ William E. Davis, III
                                            William E. Davis, III
                                            DAVIS FIRM P.C.
                                            213 North Fredonia
                                            Longview, TX 75601
                                            Tel: (903) 230-9090
                                            bdavis@bdavisfirm.com

                                            David E. Zerhusen
                                            COZEN O’CONNOR
                                            3753 Howard Hughes Parkway, Ste. 200
                                            Las Vegas, NV 89169
                                            Tel: (702) 470-2320
                                            Fax: (702) 470-2355
                                            dzerhusen@cozen.com

                                            Lezlie Madden
                                            COZEN O’CONNOR
                                            1650 Market Street, Ste. 2800
                                            Philadelphia, PA 19103
                                            Tel: (215) 665-7286


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                                             Fax: (215) 701-2127
                                             lmadden@cozen.com

                                             David Reichenberg
                                             COZEN O’CONNOR
                                             277 Park Avenue
                                             New York, NY 10172
                                             Tel: (212) 883-4956
                                             Fax: (212) 986-0604
                                             dreichenberg@cozen.com

                                             Counsel for Caesars Entertainment
                                             Corporation

                                             /s/ Maria Wyckoff Boyce
                                             Maria Wyckoff Boyce
                                             HOGAN LOVELLS US LLP
                                             609 Main Street, Ste. 4200
                                             Houston, TX 77002
                                             Tel: (713) 632-1410
                                             Fax: (713) 632-1401
                                             maria.boyce@hoganlovells.com

                                             Justin W. Bernick
                                             HOGAN LOVELLS US LLP
                                             Columbia Square
                                             555 Thirteenth Street, NW
                                             Washington, DC 20004
                                             Tel: (202) 637-5600
                                             Fax: (202) 637-5910
                                             justin.bernick@hoganlovells.com

                                             Michael E. Jones
                                             Robert E. Sterken, III
                                             POTTER MINTON PC
                                             110 North College Avenue, Suite 500
                                             Tyler, TX 75702
                                             (903) 597-8311
                                             mikejones@potterminton.com
                                             robert.sterken@potterminton.com

                                             Counsel for Defendant
                                             Choice Hotels International, Inc.

                                             /s/ Jennifer Parker Ainsworth
                                             Jennifer Parker Ainsworth
                                             Texas State Bar No. 00784720
                                             WILSON, ROBERTSON
                                             & CORNELIUS, P.C.
                                             909 ESE Loop 323, Ste. 400
                                             Tyler, Texas 75701
                                             Tel: (903) 509-5000
                                             Fax: (903) 509-5092
                                             jainsworth@wilsonlawfirm.com



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                                             Carrie C. Mahan
                                             Brianne L. Kucerik
                                             WEIL GOTSHAL & MANGES LLP
                                             2001 M Street, N.W., Ste. 600
                                             Washington, D.C. 20036
                                             Tel: (202) 682-7000
                                             Fax: (202) 857-0940
                                             carrie.mahan@weil.com
                                             brianne.kucerik@weil.com

                                             Randi W. Singer
                                             Olivia J. Greer
                                             WEIL GOTSHAL & MANGES LLP
                                             767 Fifth Avenue
                                             New York, NY 10153
                                             Tel: (212) 310-8000
                                             Fax: (202) 310-8007
                                             randi.singer@weil.com
                                             olivia.greer@weil.com

                                             Counsel for Defendant
                                             Hilton Domestic Operating Company Inc.




                                             /s/ Jennifer H. Doan
                                             Jennifer H. Doan
                                             Texas Bar No. 08809050
                                             Cole A. Riddell
                                             Texas Bar No. 24105423
                                             HALTOM & DOAN
                                             6500 Summerhill Rd., Ste. 100
                                             Texarkana, Texas 75503
                                             Tel: (903) 255-1000
                                             Fax: (903) 255-0800
                                             jdoan@haltomdoan.com
                                             criddell@haltomdoan.com

                                             Shari Ross Lahlou
                                             DECHERT LLP
                                             1900 K Street NW
                                             Washington, DC 20006
                                             Tel: (202) 261-3300
                                             Fax: (202) 261-3333
                                             shari.lahlou@dechert.com

                                             Jeffrey L. Poston
                                             Luke van Houwelingen
                                             CROWELL & MORING LLP
                                             1001 Pennsylvania Ave., NW
                                             Washington, DC 20004
                                             Tel: (202) 624-2500
                                             Fax: (202) 628-5116


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                                             JPoston@crowell.com
                                             LvanHouwelingen@crowell.com

                                             Counsel for Defendant
                                             Marriott International, Inc.

                                             /s/ Robert S. Hill
                                             Robert S. Hill (Lead Counsel)
                                             Texas Bar No. 24050764
                                             Kelly F. Bagnall
                                             Texas Bar No. 7375800
                                             HOLLAND & KNIGHT LLP
                                             200 Crescent Court, Ste. 1600
                                             Dallas, TX 75201
                                             Tel: (214) 964-9500
                                             Fax: (214) 964-9501
                                             Robert.Hill@hklaw.com
                                             Kelly.Bagnall@hklaw.com

                                             Mark Goracke
                                             HOLLAND & KNIGHT LLP
                                             10 Saint James Avenue, 11th Floor
                                             Boston, MA 02116
                                             Tel: (617) 305-2146
                                             Fax: (617) 523-6850
                                             mark.goracke@hklaw.com

                                             Counsel for Defendant Red Roof Inns, Inc.

                                             /s/ Jeffrey S. Cashdan
                                             Jeffrey S. Cashdan
                                             Emily Shoemaker Newton
                                             Danielle Chattin
                                             Lohr Beck-Kemp
                                             Alexander Gray
                                             KING & SPALDING LLP
                                             1180 Peachtree Street, NE
                                             Atlanta, GA 30309-3521
                                             Tel: (404) 572-4818
                                             Fax: (713) 572-5100
                                             jcashdan@kslaw.com
                                             enewton@kslaw.com
                                             dchattin@kslaw.com
                                             lbeck-kemp@kslaw.com
                                             agray@kslaw.com

                                             /s/ Deron R. Dacus
                                             Deron R. Dacus
                                             Texas Bar No. 00790553
                                             Shannon Dacus
                                             Texas Bar No. 00791004
                                             THE DACUS FIRM, P.C.
                                             821 ESE Loop 323, Suite 430
                                             Tyler, Texas 75701
                                             Tel: (903) 705-1117


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                                             Fax: (903) 581-2543
                                             ddacus@dacusfirm.com
                                             sdacus@dacusfirm.com

                                             Counsel for Defendant
                                             Six Continents Hotels, Inc.

                                             /s/ Lance Lee
                                             Lance Lee
                                             Texas Bar No. 24004762
                                             Attorney at Law
                                             5511 Plaza Drive
                                             Texarkana, TX 75503
                                             Tel: (903) 223-0276
                                             Fax: (903) 223-0210
                                             wlancelee@gmail.com

                                             Paula J. Morency
                                             Ann H. MacDonald
                                             Michael K. Molzberger
                                             SCHIFF HARDIN LLP
                                             233 S. Wacker Drive, Ste. 7100
                                             Chicago, IL 60606
                                             Tel: (312) 258-5500
                                             Fax: (312) 258-5600
                                             pmorency@schiffhardin.com
                                             amacdonald@schiffhardin.com
                                             mmolzberger@schiffhardin.com

                                             Robert J. Wierenga
                                             SCHIFF HARDIN LLP
                                             350 South Main Street, Ste. 210
                                             Ann Arbor, MI 48104
                                             Tel: (734) 222-1500
                                             Fax: (734) 222-1501
                                             rwierenga@schiffhardin.com

                                             Counsel for Defendant
                                             Wyndham Hotel Group LLC




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                                 CERTIFICATE OF CONFERENCE

           Counsel for Defendants has complied with the meet and confer requirement in L.R. CV-

    7(h). Personal conferences required by this rule were conducted on July 3 2019. Counsel for

    Plaintiff and counsel for Defendants spoke via telephone regarding the contents of the above-

    motion. Appearing for Plaintiffs was Christopher Schwegmann. Appearing on behalf of the

    Defendants were Melissa Smith and Brendan McShane, counsel for Hyatt, whom the Defendants

    designated to speak on their behalf. Plaintiffs did not agree regarding the requested relief, and

    repeatedly confirmed that the parties are at an impasse, leaving an open issue for the court to

    resolve. Plaintiffs oppose Defendants’ motion.

                                                         /s/ Melissa Richards Smith
                                                         Melissa Richards Smith
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                                    CERTIFICATE OF SERVICE

           The undersigned certifies that the foregoing document was filed electronically in

    compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who have

    consented to electronic service, Local Rule CV-5(a)(3), on this the 23rd day of August, 2019.


                                                                /s/ Melissa Richards Smith
                                                                Melissa Richards Smith
